      Case 3:16-cr-00207-AWT Document 97 Filed 01/16/18 Page 1 of 4




                         UNITED STATES DISTRICT COURT

                             DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                               Crim. No. 3:16-CR-207 (AWT)

                  v.

RAMON GOMEZ                                            January 16, 2018


                  STIPULATED ORDER PROVIDING FOR
            DISCLOSURE AND PROTECTION OF SEALED FILINGS

       On joint motion of the United States, Defendant Ramon Gomez, and Intervenor

The Day, for a protective order (1) authorizing the disclosure to counsel for the

Intervenor of certain documents which have been filed in this matter, and which have

been ordered sealed by this Court, and (2) limiting the extent of disclosure of these

documents and the purposes for which such disclosure may be made, and it appearing to

the Court that:

       WHEREAS, by motion (the “Unsealing Motion”) (with supporting memorandum

and declaration) filed on December 13, 2017 [docs. 74, 75, 76], Intervenor The Day has

moved for the unsealing of the Sentencing Memorandum and attachments thereto filed

under seal by counsel for Ramon Gomez on November 29, 2017 [doc. 66], and the

Memorandum filed under seal by the United States on December 4, 2017 [doc. 67];

       WHEREAS, on January 5, 2018, counsel for Ramon Gomez filed under seal a

response [doc. 91] to Intervenor’s motion to unseal;

       WHEREAS, at a hearing on January 8, 2018, the parties agreed that in order for

the Intervenor to present its arguments with respect to its Unsealing Motion, it would be




                                             1
      Case 3:16-cr-00207-AWT Document 97 Filed 01/16/18 Page 2 of 4



appropriate to permit counsel for the Intervenor to have access to documents 66, 67, and

91, subject to certain limitations on further disclosure,

         It is hereby ORDERED:

         1.    Counsel for the Defendant shall provide counsel for the Intervenor with an

unredacted copy of documents 66 and 91, and counsel for the United States shall provide

counsel for the Intervenor with an unredacted copy of document 67 (collectively, the

“Subject Documents”), all of which shall remain sealed unless otherwise ordered by this

Court.

         2.    Except as permitted by court order, counsel for the Intervenor shall not

disclose the Subject Documents or their contents to any other person, other than

additional counsel for the Intervenor (including counsel’s secretaries, clerical workers,

and paralegals).

         3.    Counsel for the Intervenor shall take appropriate measures to ensure that

each person to whom counsel discloses material covered by this Order, including

counsel’s employees, understands the limited purpose for which it is being disclosed and

the prohibition against further dissemination.

         4.    Any notes or recorded notations of any kind that counsel for the

Intervenor, their secretaries, clerical workers, and paralegals may make relating to the

contents of the Subject Materials shall not be shown to anyone except counsel and the

persons listed in paragraph 2 of this Order, and counsel shall maintain the confidentiality

of these materials pursuant to the terms of this Order after this case is disposed of,

through and including any proceedings seeking review of this Court’s disposition of the

Unsealing Motion.



                                              2
      Case 3:16-cr-00207-AWT Document 97 Filed 01/16/18 Page 3 of 4



       5.      To the extent the parties (including the United States, the Defendant, and

the Intervenor) wish to make reference to the contents of the Subject Materials in any

document filed in this Court, they shall ensure that any such references are made in a

sealed unredacted version of that document, accompanied by a publicly filed version of

that document that redacts any references to the contents of the Subject Materials. Any

such subsequently filed sealed documents shall be subject to the same confidentiality

conditions as the Subject Materials. Further, the parties shall not orally disclose the

contents of the Subject Materials in open court.


       6.      All Subject Materials disclosed pursuant to paragraphs 1 and 2 of this

Order and all copies thereof shall be promptly destroyed after disposition of the

Unsealing Order by final, non-appealable judgment of the Unsealing Order, unless this

Court orders otherwise.


       7.      Subject to applicable rules and laws of professional conduct (including

without limitation the attorney-client privilege), in the event the terms of this Order are

violated, counsel for the Intervenor shall advise the Court immediately of the nature and

circumstances of such violation.




                                              3
      Case 3:16-cr-00207-AWT Document 97 Filed 01/16/18 Page 4 of 4



        It is so ordered.

        Signed this 16th day of January 2018, in Hartford, Connecticut.



                                            ____________/s/ AWT ________________
                                                   ALVIN W. THOMPSON
                                              UNITED STATES DISTRICT JUDGE
Seen and agreed:


_/s/_________________________________ __/s/_______________________________
Douglas P. Morabito                             Michael O. Sheehan, Esq.
William J. Nardini                              Counsel for Defendant Ramon Gomez
Counsel for the United States



_/s/________________________
Jennifer A. Nelson, Esq.
Counsel for Intervenor The Day




Read and Acknowledged:          __________________________________________
                                Print Name


                                _________________________________________
                                Signature


Dated: __________________




                                            4
